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B A O 2458    (Rev. 06105) Judgment in a Criminal Case             #478
              Sheet I




                       SOUTHERN                                   District of                                       ILLINOIS

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             v.
                   SHIRLEY L. BLAIR
                                                                          Case Number:            4:05CR40065-003-JPG

                                                                          USM Number:             06845-025

                                                                           Daniel F. Goggin
                                                                                                                                   "* .r,,. A?.
THE DEFENDANT:
                                                                          Defendant's Attorney
                                                                                                                                           '
                                                                                                                                           '   *
Gpleaded guilty to count(s)          1 of the Indictment
                                                                                                                     w"L>,m-   -.;,:-2 ..,,
   pleaded nolo contendere to count(s)                                                                               Cp(.(.>,"~:~;'f; cr:,
   which was accepted by the court.
                                                                                                                                                       -
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title % Section                   Nature of Offense                                                            Offense Ended                   Count
 21 U.S.C. 645                     Conspiracy to Menufacture, Distribute, and Poesess W i                       4/30/2006                          1
                                   Intent to Distribute 500 Grams or More of a Mixture &
                                   Substance Containing Methamphetamine.

       The defendant is sentenced as provided in pages 2 through              10             of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                               [7 is   [7 are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the Ilnited States attorney for this rlistnct \4 ~rhin30 rla $3of any shangc of name, re~irlencc.
or mailing address until all finca. rcstlrutlon, cosr, and special assc3sments iniposed hy rh~sjudgment are itlily p a ~ dIfordered to pay restlrurlon,
thc dcfcndant must nutify the 2uun and lln~tcdStates attorney of nwtcrial changcs in cconornlc iir~unutanccs.


                                                                          Date of lmpositi     of Judgment


                                                                                     &*w-'
                                                                          J. Phil Gilbert                                  District Judge
                                                                          Name of Judge                                   Title of Judge




                                                                                                                /
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                Sheet 2 I m p r i s o n m e n t
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DEFENDANT: SHIRLEY L. BLAIR
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                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  262 months on Count 1 of the Indictment




      I$ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



           The defendant is remanded to the custody of the United States Marshal.

      17 The defendant shall surrender to the United States Marshal for this district:
         17 at                                      a.m.     13 p.m. on
         17 as notified by the United States Marshal.
      I$ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         17 before 2 p.m. on
           I$     as notified by the United States Marshal.
                  as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 at                                                      , with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                              BY
                                                                                                     DEPUTY UNITED STATES MARSHAL
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A 0 2458      (Rev 06/09 , Judement in a Criminal Case
              Sheet 3 - Supelvlsed Release
                                                                                                            Judgment-Page   3 of
DEFENDANT: SHIRLEY L. BLAIR                                                                                                 -                   10

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                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tern of:

 10 years on Count 1 of the Indictment.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mitto one dmg test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        Tbe defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
@ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicahle.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofl~aymentssheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refram tiom excesslye use of alcohol and sh311 not por~hate,pussess, usc, dlstributc, ur adminl~lcran)
      controlled substance OT any paraphernalia related 111 any controllcll subsrancc>.~.xccpt3s prcccr~bcdby a physlr~an;
   8)      the defendant shall not frequent places where controlled substances are illegally sol4 used, distributed, or administered;
   9)      the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted perm~ss~on             %
                                              to do so y the profation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain mew of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or           history or charactensttcs and shall p e m t the prohatton ofiicer to make such notificat~onsand to c o n f m the
           defendant s compliance with such notification requirement.
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           Sheet 3C - Supervised Release
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis,
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A 0 2458   (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetaly Penalties
                                                                 #482
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DEFENDANT: SHIRLEY L. BLAIR                                                                                              -                 10
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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                      Assessment                                         -
                                                                         Fine                                Restitution
TOTALS            $ 100.00                                            % 200.00                             $ 0.00



     The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant inakcs 3 panial payment, each pa ee =hallrecen c an approxlmat<lypro ortiuned aymcnt, unlcsb spec~ficdothertr ijr. In
     the prionty order or percentapt payment colunlnielow. llowc\:sr, pursumt to 18 L 3 . p . b 36640, all nonfedcral \,ictim$ must be paid
     before the-United States is paid.

Name of Payee                                                             Total*               Restitution Ordered       Prioritv or Percentage




TOTALS                                $                       0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(0. All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

@f The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      &3 the interest requirement is waived for the          '$ fme           restitution.
           the interest requirement for the           fine           restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199%.
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           Sheet 6   Schedule of Payments                        #483
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetaly penalties are due as follows:

A     I$   Lump sum payment of $                             due immediately, balance due

                 not later than                                 , or
                 in accordance           IJ C,         D,         E, or    B ( F below; or

B     IJ Payment to begin immediately (may be combined with                C,          D, or        F below); or

C          Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     IJ Payment inequal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     i
      jSpecial instructions regarding the payment of criminal monetaq penalties:
           While on Supe~iSedrelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of her net monthly income, whichever is greater, toward her fine.




I'nless thesoun hdscxpressl orderedotherwise, ~fthls
                                                                                             1     :
                                                        judgn~entimposes imprlsonlnent, avnient ofcrm11n31monetarypenalt~eslsduc dunn
Imprl,onmcnt. All crlmma?mollcta pcnalucs, except those paymcnts made throug the I cdcrdl Bureau o i Prisons' Inmate ~ l n a n c d
Responsib~l~ty Program, arc made t o x e clerk o f the coon.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecut~onand court costs.
